               Case 2:15-cr-01515-RB Document 450-3 Filed 06/15/18 Page 1 of 2


                                                           Linesheet                                            User:      Ana Rodriguez2



 Case:     MS-14-0093               5753131 755_080714                     5753131755_080714         File

 PARTIES GREETED. MONDELLO SA|D [U/t] [AUD|O BREAKS] MONDELLO ASKED WHAT ERIC
 wAS UP TO. ERIC REPLIED ERIC WAS OUT THERE FTNTSH|NG Up ON THE CAR [NFl]. MONDELLO
 ACKNOWLEDGED AND SAID MONDELLO HAD CALLED TOBS (TOBY) BUT TOBY HAD SAID TOBY
 DIDN'T LIKE CS. ERIC REPLIED ERIC WASN'T SURE. MONDELLO STATED TOBY DIDN'T LIKE CS.
 ERIC LAUGHED.
 MONDELLO SAID CS WAS IN TOWN AND HAD ABOUT 18OO BUCKS. ERIC ACKNOWLEDGED AND
 ASKED IF MONDELLO WANTED ERIC TO CALL CS. MONDELLO SAID THAT MONDELLO COULD
 JUST TELL CS TO GO BY ERIC'S. ERIC AGREED. MONDELLO REITERATED MONDELLO HAD
 CALLED TOBY BUT TOBY HAD SAID TOBY WOULDN'T DEAL WTH CS. ERIC ACKNOWLEDGED.
 MONDELLO SAID THAT IF ERIC WANTED CS COULD GO BY ERIC'S AND ERIC COULD JUST GO
 GRAB CS' MONEY AND GO. ERIC LAUGHED AND SAID THAT IT DIDN'T MATTER. MONDELLO SAID
 MONDELLO WAS GOING TO TELL CS TO GO By THE HOUSE (MONDELLO'S). ERIC
 ACKNOWLEDGED. PARTIES CONCURRED.
 IEND OF CALLI
 EM




Session:             632          Date:                  08l23l2AM         Classification:   Non-Pertinent   Duration:     00:01:06
lllonitored By:                   Start Time:            12:17:59 MDT      Gomplete:         Not Completed   Direction:    lncoming
ln   Dlgits:         5759568185   Asscociate Number:     (575) 9s6-8185    Participants:     MONDELLO,JUDAH


  q9p9is
 GHOST CALL
 EM




Session:             633          Date:                  08123t2014                  Pertinent
                                                                           Classification:                   Duratlon:     00:01:'t3
lllonltored Byr estherm           Start Time:            12:19:20 MDT      Complete: Completed               Direction:    Outgoing
Out   Digits:        4803566107   Asscociate Number:     4803566'107       Participants:     CS
                                                                                             MONDELLO, JUDAH


       o   ls
 MONDELLO TO CS
 [SURVJ
 MONDELLO TOLD CS TO JUST GO BY MONDELLO'S HOUSE WHERE [U/t]AND ADDED ERIC WAS
 THERE (MONDELLO'S HOUSE) AND ERIC COULD TAKE CARE OF IT [NFI] CS ASKED IF ERIC WAS
 THERE. MONDELLO AFFIRMED. CS ACKNOWLEDGED AND SAID CS WAS GOING TO DO THAT
 (GO TO MEET ERIC AT MONDELLO'S HOUSE). MONDELLO ACKNOWLEDGED.
 cs ASKED HOW [U/r] TO CS [NFr]. MONDELLO REPLTED MONDELLO DIDN'T KNOW. CS ASKED
 MONDELLO TO TELL CS. MONDELLO REPLIED tT [NFl]WASN'T MONDELLO'S AND MONDELLO

                                     -    GOVERNMENT
                                            EXHIBIT
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07 11612015    1 1   :48:01 MDT                                                                                           224   ol 408
               Case 2:15-cr-01515-RB Document 450-3 Filed 06/15/18 Page 2 of 2


                                                                  Linesheet                                                 User:      Ana Rodriguez2



     Case:   MS-14-0093           Target:   5753131755_080714                Line:                               Fils Number:

     wAS DONE [NFl] BUT HE (ERrC) WOULD GO OVER TO TUBS (TOBY) AND WAS GOTNG TO GET tT
     lNFll FoR cs. cs ACKNoWLEDGED AND ASKED lF MONDELLO HAD tT [NFt] ON THE SPOT OR
     cs wAS GoING TO HAVE TO WAIT OR GIVE HIM (ER|C) THE MONEY BEFORE. MONDELLO
     REPLIED HE (CS) SHOULD NOT BE ABLE TO AND SA|D HE (ERrC) SHOULD BE ABLE TO GO
     GRAB lr [NFl]AND GET lr [NFl]. MONDELLO ADVTSED CD TO GO TALK TO HtM OVER THERE.
     CS ASKED FOR ERIC'S PHONE NUMBER [PAUSE] MONDELLO ASKED IF CS WAS READY. CS
     AFFIRMED. MONDELLO SAID THE NUMBER WAS 956-8185. CS ASKED IF CS JUST HAD TO CALL
     ERIC. MONDELLO AFFIRMED. PARTIES CONCURRED.
     IEND OF CALLI
     EM




Session:             634               Date:                    08123120't4                    Non-Pertinent
                                                                                     Classification:                     Duration:      00:00:51
Monitored    By:     estherm           Start Time:              12:27:04MDf          Gomplete: Not Completed             Direction:     lncoming
ln   Digits:         5759568185        Asscociate Number:       (575) 956-8185       Participants:     MONDELLO,JUDAH
                                                                                                       ORTEGA, ASHLEY




     ERIC TO MONDELLO
 lsuRVI
 VOICEMAIL REACHED; NO MESSAGE LEFT
     EM




Seqsion:             635               Date:                    08123t2014           Classificatlon:   Non-Pertinent     Duration:     00:00:51
ilonltored By:                         Start Time:              12:27:04MDI          Complete:           Completed
                                                                                                       Not               Dlrection:    lncoming
In Digitsl           5759568185        Asscociate Number:       (575) 956-8185       Participants:     MONDELLO,JUDAH


   o ts
 GHOST CALL
 EM



Session:             636               Date:                    08t2312014           Glassification:   Pertinent         Duration:     00:01:10
lllonitored By: estherm                Start Time:              12:29:32MDT          Complete:         Not   Completed   Direction:    lncoming
ln   Digits:         5759568185        Asscociate Number:       (575) 956-8185       Participants:     ERIC,ASHLEY/
                                                                                                       MONDELLO, JUDAH


       !s
 ERIC TO MONDELLO



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07 11612015    1 1   :48:01 MDT                                                                                                       225 ol 408
